Case 8:24-cr-00068-KKM-TGW Document 63 Filed 07/09/24 Page 1 of 19 PageID 554




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

UNITED STATES OF AMERICA

    v.                                                 Case No. 8:24-cr-00068-KKM-TGW

TIMOTHY BURKE

              UNITED STATES’ SUPPLEMENTAL MEMORANDUM
              IN SUPPORT OF MOTION FOR PROTECTIVE ORDER

         Pursuant to this Court’s Order of June 27, 2024, Doc. 56, the United States

submits this supplemental memorandum in support of its motion for a protective

order sought under Rule 16(d)(1) of the Federal Rules of Criminal Procedure and 18

U.S.C. § 3771, the Crime Victims’ Rights Act (“CVRA”). Doc. 33. Therein, the

United States requests that reasonable safeguards be established in this case to

protect certain discoverable items and information, namely contraband or fruits of

the crimes charged against Burke.1 As explained below, Burke, charged with

conspiracy and related substantive violations of the Computer Fraud and Abuse Act

(“CFAA”) and the Wiretap Act, should be prohibited from having unsupervised

access to and disclosing the fruits of his crimes. Indeed, disclosure by Burke of the

fruits of his crimes would further injure the victims of the charged conduct and likely

amount to additional criminal violations of the Wiretap Act.


1
 This Court has previously explained that it intended to enter a protective order safeguarding two
categories of discoverable material, those being personal identifying information and intellectual
property and trade secrets.
Case 8:24-cr-00068-KKM-TGW Document 63 Filed 07/09/24 Page 2 of 19 PageID 555




I.      Introduction

        In early May 2023, a federal magistrate judge found probable cause and

issued a lawful warrant to search Burke’s residence for records and evidence relating

to violations of the CFAA and the Wiretap Act.2 Shortly thereafter, on May 8, 2023,

FBI Special Agents executed that warrant and seized various electronic devices from

Burke’s residence that, among other information, contained items and information

believed to be fruits of violations of the CFAA and the Wiretap Act. On that same

day, FBI Special Agents in Washington executed a related warrant at the residence

of Marco Gaudino.

        A Middle District of Florida grand jury found probable cause and returned an

indictment against Burke in February 2024, charging Burke with conspiracy and

related substantive violations of the CFAA (18 U.S.C. § 1030(a)(2)(C)3 and the

Wiretap Act (18 U.S.C. § 2511(1)(a) and (c)).4 Doc. 1. That finding of probable


2
 Shortly after the May 2023 search at Burke’s residence, the Times Publishing Company (“The
Times”) initiated an action, requesting that the Court unseal the affidavit in support of the search
warrant and other related documents. See Case No. 8:23-mc-00014-WFJ-SPF. While the affidavit in
support of the search warrant remained sealed during the investigation leading to the indictment in
this case, it has since been unsealed (with minor redactions). Case No. 8:23-mc-00014-WFJ-SPF,
Doc. 57.
3
 The elements of a violation of 18 U.S.C. § 1030(a)(2)(C) are that: (1) the defendant intentionally
accessed a computer without authorization; (2) when the defendant accessed the computer, the
defendant obtained information therefrom; and (3) the computer accessed was a protected computer.
See Eleventh Circuit Jury Instructions (Criminal), Instruction O42.2 (modified).
4
  In the Eleventh Circuit, the elements of a violation of § 2511(1)(a) are that: (1) the defendant
intentionally intercepted or endeavored or procured another to intercept; (2) the contents of a wire,
oral, or electronic communication; (3) the defendant did so by use of a device; and (4) the
interception of the communication was contemporaneous with the transmission of the
communication. 18 U.S.C. § 2511(1)(a); and see United States v. Turk, 526 F.2d 654, 658 (5th Cir.
1976); United States v. Steiger, 318 F.3d 1039, 1047-50 (11th Cir. 2003); In re Pharmatrak, Inc. Privacy
Litigation, 329 F.3d 9, 18 (1st Cir. 2003). The elements of a violation 18 U.S.C. § 2511(1)(c) are that:
                                                   2
Case 8:24-cr-00068-KKM-TGW Document 63 Filed 07/09/24 Page 3 of 19 PageID 556




cause by a neutral arbiter must be accorded a presumption of regularity. See United

States v. Mechanik, 106 S.Ct. 938, 944 (1986) (O’Connor J. concurring opinion).

Following Burke’s initial appearance, this Court entered a Pretrial Discovery Order and

Notice of Trial and Status Conference, Doc. 27, regulating the discovery proceedings in

this case.

       The United States filed a motion for protective order under Rule 16(d)(1) and

the CVRA on May 6, 2024, requesting, in part, that this Court enter an order

limiting dissemination of certain discoverable materials, namely materials that

contain PII, intellectual property of others, and/or contraband or fruits of the crime.

Doc. 33. Following briefing by the parties, this Court held a hearing on June 27,

2024. Docs. 39, 51, and 52. Thereafter, the Court entered an order directing the

parties to file supplemental memoranda concerning whether the defendant, during

the pretrial discovery process, should be permitted to have unsupervised access to

and publish certain items or fruits of the illegal conduct charged against him in this

case. Doc. 56.

II.    The Charged Criminal Conduct

       The charged conspiracy alleges that Burke and “Conspirator 2”— Marco

Gaudino—utilized the Internet to secure credentials (usernames and passwords),



(1) the defendant intentionally disclosed; (2) an illegally intercepted communication; and (3) when
the defendant did so, the defendant had knowledge or reason to know that the intercept was illegal.
18 U.S.C. § 2511(1)(c). While “knowledge or reason to know of the illegality is an element” of the
crime, it is only necessary to establish that the defendant knew the relevant facts, not that the
defendant understood the Wiretap Act well enough to know that the interception was unlawful. See
United States v. Wuliger, 981 F.2d 1497, 1501 (6th Cir. 1992).
                                                 3
Case 8:24-cr-00068-KKM-TGW Document 63 Filed 07/09/24 Page 4 of 19 PageID 557




which had been issued to others with whom Burke and Gaudino had no affiliation,

and from whom neither Burke nor Gaudino had received any authorization to

possess or use. Doc. 1 at Count One, ¶¶ 22-23. Burke and Gaudino then repeatedly

used those compromised credentials to gain unauthorized access into victim entities’

protected computers, and scoured those computers for items and information they

deemed desirable, which they obtained and stole for their own use. Id. The

indictment includes an “overt act” direct message exchange between the

conspirators in February 2022, during which Gaudino provided Burke with

compromised credentials for a protected computer—an NSL FTP server—that the

conspirators then used to repeatedly access that FTP server from which they

obtained and stole folders and files. Id. at ¶ 23.a.-b. and Counts Two and Three. To

demonstrate the alleged unlawful computer intrusions and theft of NSL property by

Burke, the United States has provided to this Court redacted NSL system logs that

reveal Burke’s download activity from the NSL FTP server on two sample days

(seven files downloaded February 21, 2022; 71 files downloaded September 14,

2022). Doc. 52-3.

      The charged conspiracy further alleges that Burke and Gaudino utilized one

particular set of compromised credentials (belonging to StreamCo-Net broadcaster-

customer NW-2) to repeatedly access without authorization a StreamCo-Net

password-protected website from which they systematically obtained and stole

sensitive information, including “StreamCo-Net BIDs and other proprietary

information.” Doc. 1 at ¶ 22.g.-h. Critically, the stolen StreamCo BIDs—unique
                                          4
Case 8:24-cr-00068-KKM-TGW Document 63 Filed 07/09/24 Page 5 of 19 PageID 558




device identification numbers that functioned much like Social Security numbers—and

proprietary information were component parts of valid StreamCo-Net preview feeds,

which the conspirators then exploited to illegally intercept wire communications in

real time as they were being transmitted across the StreamCo-Net by its broadcaster-

customers. Id. at ¶ 22.g.-i., ¶ 23.i., and Counts Eight through Twelve.

       The process worked liked this.5 The StreamCo-Net platform allowed its

broadcaster-customers to electronically record and transmit encoded high-resolution

video content over the Internet. Id. at Count One, ¶¶ 8-12. The broadcaster-

customers were relatedly offered a preview function through the StreamCo-Net

password-protected website, which enabled the broadcaster-customers to access and

preview their respective video transmissions in real time at a lower resolution for

quality assurance and other business-related purposes. Id. Thus, once a StreamCo-

Net broadcaster-customer logged into the StreamCo-Net website using valid

credentials (a username and password) issued by StreamCo, that customer could

preview its live video stream transmissions, but could not preview the video

transmissions of other StreamCo-Net customers. The preview streams were

embedded into the StreamCo-Net website from discrete uniform resource locators

(“URLs”), each of which was composed of a lengthy string of letters, numbers, and

symbols and a unique StreamCo-Net BID of 9 to 15 characters, generated by an




5
 The below explanation is consistent with the charged conduct and anticipated trial evidence in the
United States’ possession.
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Case 8:24-cr-00068-KKM-TGW Document 63 Filed 07/09/24 Page 6 of 19 PageID 559




algorithm and assigned to the StreamCo device used by a particular customer to

receive and decode its transmission(s). Id.

       As noted above, however, Burke and Gaudino had only secured one set of

(unauthorized) compromised credentials for StreamCo-Net broadcaster-customer

NW-2, which was a restricted credential allowing access to only a limited number of

NW-2 video transmission streams. See Id. at Count One, ¶¶ 9-12 and ¶ 23.d. And

they wanted access to the video streams of more StreamCo-Net customers. To gain

that broader (unauthorized) access to additional StreamCo-Net customers’ video

streams, the conspirators circumvented the established StreamCo-Net website

authorization (login) process—limiting each customer’s available preview feeds to

video transmissions passing through that customer’s decoder devices—and

proceeded directly to those additional customers’ URLs within the StreamCo-Net

website, using two pieces of stolen information: (1) the master StreamCo-Net URL

structure; and (2) the unique BID assigned to the particular device receiving and

decoding the desired streamed transmission, as depicted below (master URL

structure in blue; assigned BID in red).

       https://txxxxxail-us.[StreamCo].tv/xxxx/[BID]_XXXXXXXXXXX1671_
       InstanceX.stream/playlist.m3u8?streamXxx=[BID]_XXXXXXXXXXX167_
       InstanceX6


6
  The unique BID was repeated twice within the URL structure and included an “Instance#” that
typically ranged from 1 to 4. Upon discovering the conduct charged in this case, StreamCo
conducted a damage assessment and modified its platform to prevent additional similar intrusions.
Notwithstanding those modifications, the above example stream has been modified to include “X”
or “x” in place of certain letters, numbers, or symbols contained in the actual URL, depicted here.
The United States is amenable to submitting an unmodified version to the Court for its review
should the Court so desire.
                                                 6
Case 8:24-cr-00068-KKM-TGW Document 63 Filed 07/09/24 Page 7 of 19 PageID 560




Assuming arguendo that Burke and Gaudino had somehow—other than by gaining

unauthorized access to the StreamCo-Net website—known the master StreamCo-Net

URL structure (which they did not) and had knowledge that the StreamCo device

BIDs ranged from 9 to 15 characters (which they also did not), the approximate odds

of the conspirators randomly guessing a valid BID and thereby being able to access

and preview a particular StreamCo-Net customer’s video transmission was 1 in

999,999,900,000,000.

      Of course, such odds were pragmatically insurmountable. However, what was

achievable, and what the charged conspiracy and related substantive counts allege, is

that conspirators Burke and Gaudino repeatedly used the NW-2 compromised

credentials to access without authorization the StreamCo-Net password-protected

website from which they obtained and stole information by exploiting aspects of the

StreamCo-Net system design, including the master StreamCo-Net preview URL

structure and the over 2,000 (otherwise unguessable) unique StreamCo BIDs that

had been assigned to StreamCo-Net broadcaster-customers’ decoder devices. Id. at

Count One, ¶ 22.a.-g. and ¶ 23.e.1-7 and h.1-5. The conspirators then created and

saved to their computers automated scripts that utilized the stolen master StreamCo-

Net URL structure and the stolen unique StreamCo BIDs to intercept and monitor

over 3,000 StreamCo-Net broadcaster-customer video transmissions in real time,

recording more than 1000 video streams. See, e.g., Id. at Count One ¶ 23.f.-g. and i.1-

5.



                                           7
Case 8:24-cr-00068-KKM-TGW Document 63 Filed 07/09/24 Page 8 of 19 PageID 561




       In other words, through their criminal conduct, Burke and Gaudino were able

to view and hear anything that could be captured by the respective StreamCo-Net

customers’ cameras: they were positioned like the proverbial fly on the wall,

surreptitiously peering out from the cameras and listening to private and workplace

conversations and exchanges between employees and others who happened to be

present. Critically, absent Burke and Gaudino’s use of the compromised NW-2

credentials to gain unauthorized access of the StreamCo-Net password-protected

website and their related thefts therefrom, it would have been statistically impossible

for the duo to access the StreamCo-Net broadcaster-customers’ preview function

URLs and thereby intercept, monitor, and record their wire transmissions. Burke

then “took steps to conceal that the intercepted [video communication streams] had

been originally retrieved from the StreamCo-Net by, among other conduct, altering

the appearance and metadata [of the video communications,]” and disclosed

excerpts of certain video communications to others. Doc. 1 at ¶¶ 22.j.-k., 23.j.-k.,

and Counts Thirteen and Fourteen.

III.   Fruits of the Charged Criminal Conduct

       As explained in the United States’ Motion for Entry of Protective Order and

Incorporated Memorandum in Support and related reply, Docs. 33 and 52, the United

States’ investigative team located on Burke’s computer system several categories of

contraband, or fruits of the charged criminal conduct. Said fruits of the charged

criminal conduct included:



                                             8
Case 8:24-cr-00068-KKM-TGW Document 63 Filed 07/09/24 Page 9 of 19 PageID 562




      (1) over 3,000 folders and files that were downloaded by Burke from a protected
          computer, namely an NSL FTP server, following Burke’s repeated use of a
          compromised NSL (administrative level) credential to access that FTP
          server;

      (2) electronic information obtained and stolen from the StreamCo-Net
          password-protected website, following Burke’s repeated unauthorized
          access of that website using compromised credentials, namely the stolen
          master StreamCo-Net URL structure and the over 2,000 (otherwise
          unguessable) unique StreamCo BIDs: and

      (3) over 1,000 video files that contain all or part of apparent illegally intercepted
          and stolen wire communication streams of StreamCo-Net broadcaster-
          customers, via the manner and means alleged in the indictment.

Significantly, as noted above, the over 1,000 video files found on Burke’s computer

system contain illegally intercepted and stolen private and workplace conversations

and exchanges between employees and others working in proximity to the

StreamCo-Net customers’ cameras. The United States has provided to this Court for

its in-camera review two brief exhibits (Exhibits 4E and 4F), excerpted from two of the

more than 1,000 video files, one of which includes production team conversations and

makeup applications to a news correspondent and another that reveals an off-camera

conversation between a news correspondent and others participating in a Zoom

meeting. Neither example was part of or included in any planned broadcast. Instead,

the video stream transmissions were surreptitiously intercepted in real time by the

conspirators while actively engaged in the charged criminal conduct.

      In addition, the United States’ investigative team also located folders and files

on Burke’s computer system that, based upon direct message exchanges between

Burke and Gaudino and consistent with the factual basis acknowledged by Gaudino

                                            9
Case 8:24-cr-00068-KKM-TGW Document 63 Filed 07/09/24 Page 10 of 19 PageID 563




 in his plea agreement, Doc. 52-2, were apparently downloaded by Burke from

 another protected computer owned by TSN, a sports network, following Burke’s use

 of compromised credentials—provided to him by coconspirator Gaudino—to access

 that TSN computer without authorization. Indeed, Gaudino has confirmed under

 oath during his plea hearing his participation and role in the conspiracy charged

 against Burke, including that “[Gaudino] was not employed by or otherwise

 associated with the NSL, TSN, StreamCo, StreamCo-Net, NW-1, or NW-2, and

 that he did not have authorization from any of the entities or associated credential

 holders to utilize the [identified compromised] credentials to access [those] entities’

 [listed] computers.” Doc. 52-2 at 30.

 IV.   Argument

       A.     Burke should not be permitted unsupervised access to the contraband or
              fruits of the charged conduct nor allowed to publish pending trial.

       This Court’s Order directs the parties to file supplemental memoranda

 concerning whether defendant Burke, as part of the discovery process, should be

 permitted to have access to and publish “contraband or fruits of the identified

 crimes,” namely the items or information illegally obtained through the conduct

 charged by the indictment. Doc. 56. The answer is no.

       As explained above, the items and information at issue were originally seized

 from Burke’s and Gaudino’s residences during a federal criminal investigation

 pursuant to the execution of lawful search warrants upon findings of probable cause

 by federal magistrate judges. The grand jury has since found probable cause and

                                             10
Case 8:24-cr-00068-KKM-TGW Document 63 Filed 07/09/24 Page 11 of 19 PageID 564




 returned the indictment in this case. That indictment alleges that Burke conspired

 with Gaudino to violate the CFAA and the Wiretap Act and thereby located and

 obtained the contraband items and information, that being the items and

 information illegally obtained from third party victim entities’ protected computers

 and the illegally intercepted wire communication streams that include the private

 and workplace conversations and exchanges of others who were unaware of the

 conspirators’ surreptitious surveillance. The indictment also includes forfeiture

 allegations that specifically identify twenty devices seized from Burke’s residence

 that facilitated and/or contained fruits of the charged conduct. Moreover, Gaudino

 has pleaded guilty and acknowledged his active role in the charged criminal conduct

 and has agreed to forfeit devices seized from his residence that were used to facilitate

 the conspiracy. See Doc. 52-2. Criminal defendants positioned like Burke and

 Gaudino have no property rights in the fruits of their crimes. It would be abhorrent

 to permit a defendant, such as Burke, unfettered access to the fruits of the charged

 conduct pending trial.

       Indeed, such would be the case even if the relevant items and information

 were later deemed to have been seized unlawfully, which is not the case here.

 Whereas Fed. R. Crim. P. 41(g) permits a person aggrieved by an unlawful search

 and seizure of property to move for the property’s return, the rule’s advisory notes

 specifically exclude “contraband or instrumentalities of crime.” See Fed. R. Crim. P.

 41, Committee Notes on Rules—2009 Amendment. “Individuals have no property

 right in contraband materials, so contraband materials will not be returned to them
                                            11
Case 8:24-cr-00068-KKM-TGW Document 63 Filed 07/09/24 Page 12 of 19 PageID 565




 regardless of whether the initial seizure of such materials was improper or whether

 any person connected with the seizure was connected with crime.” 68 Am. Jur. 2d,

 Searches and Seizures § 323; Cf. 18 U.S.C. § 983(d)(4) (“[N]o person may assert an

 ownership interest . . . in contraband or other property that it is illegal to possess.”).

        Thus, to prevail on a motion for return of property under Rule 41(g), the

 Ninth Circuit has explained:

        a criminal defendant must demonstrate that (1) he is entitled to lawful
        possession of the seized property; (2) the property is not contraband; and
        (3) either the seizure was illegal or the government’s need for the property as
        evidence has ended.

 United States v. Van Cauwenberghe, 827 F.2d 424, 433 (9th Cir. 1987); and see United

 States v. Gotti, 244 F.Supp.2d 120, 124-25 (E.D.N.Y. 2003) (adopting Third Circuit

 application of Rule 41(g) [formerly, Rule 41(e)], and noting that burden is on the

 movant to show entitlement to property under a motion for a return of property

 made while criminal prosecution is pending); and see United States v. King, 2022 WL

 875383 at *5 (S.D.N.Y. 2022) (“moving party bears the burden of demonstrating, by

 a preponderance of the evidence, that ‘(1) he is entitled to lawful possession of the

 seized property; (2) the property is not contraband; and (3) either the seizure was

 illegal or the government’s need for the property as evidence has ended.’”) (quoting

 United States v. Pinto-Thomaz, 352 F.Supp.3d 287, 311 (S.D.N.Y. 2018)); see also 3A

 Charles Alan Wright & Arthur R. Miller, Fed. Prac. & Proc. Crim. § 690 (4th ed.)

 (“On a motion to return the burden is on the moving party to show that he or she is

 entitled to lawful possession of the property.”).


                                               12
Case 8:24-cr-00068-KKM-TGW Document 63 Filed 07/09/24 Page 13 of 19 PageID 566




       To permit Burke unsupervised access to the fruits of the charged criminal

 conduct—the files stolen from third parties and the illegally intercepted video

 streams—for his use pending trial at the expense and risk of further harm to the

 victims would be anathema to criminal jurisprudence, particularly the CVRA and

 applicable forfeiture statutes. The CVRA specifically recognizes that crime victims,

 such as the victims in this case have a “right to be reasonably protected from the

 accused[,]” namely Burke, pending trial. See 18 U.S.C. § 3771(a)(1). Said victims

 also have the right under the CVRA “to be treated with fairness and with respect for

 [their] dignity and privacy.” 18 U.S.C. § 3771(a)(8) (emphasis added). Thus, courts

 routinely issue protective orders during the discovery phase of criminal proceedings

 to safeguard CVRA victims. See, e.g., United States v. Torres, 2020 WL 4500046 at *5-

 *6 (D. New Jersey 2020) (courts have applied rights under CVRA to find good cause

 to enter protective order, including to protect the privacy and dignity of victims); and

 see United States v. Tsosie, 2018 WL 2745114 at *4-6 (D. New Mexico 2018) (crime

 victims have right to be treated with fairness and respect for their dignity and

 privacy). Defendant Burke should not be permitted unsupervised access to the

 illegally intercepted private and workplace conversations and exchanges between the

 victim broadcasters’ employees and others who happened to be interacting with

 those employees. Their privacy rights should be protected under the CVRA.




                                            13
Case 8:24-cr-00068-KKM-TGW Document 63 Filed 07/09/24 Page 14 of 19 PageID 567




       B.     Disclosing the illegally intercepted video streams would amount to new
              criminal conduct.

       As explained above, Burke is charged, in part, with conspiracy and related

 substantive counts stemming from his real-time interceptions of video transmission

 streams by use of a device, in violation of 18 U.S.C. § 2511(1)(a). Doc.1 at Count

 One and Counts Eight through Twelve. Given those pending charges, Burke’s

 argument that he should be allowed to have unsupervised access to and publish the

 intercepted streams is nonsensical. Indeed, disclosure of the contents of one of the

 illegally intercepted streams would amount to new criminal conduct, in violation of

 18 U.S.C. § 2511(1)(c), as is charged in Counts Thirteen and Fourteen of the

 pending indictment.

       C.     Value of the fruits of the crime in the marketplace should not weigh
              upon the decision to issue a protective order in this case.

       During the June 27, 2024 hearing, this Court generally inquired as to the

 value of the above-described fruits of the charged criminal conduct. It is inarguable

 that Burke and Gaudino placed significant value on the items and information. After

 all, they conspired over an approximately 15-month period during which they

 demonstrated their perceived value of the fruits of the charged conduct by repeatedly

 gaining unauthorized access to the protected computers of third-party victims and

 downloading and saving to their respective computer systems thousands of folders

 and files and illegally intercepted and recorded wire communication streams that

 occupied terabytes of space on those systems. In addition, as reflected and charged

 in Counts Four and Thirteen, Burke intentionally accessed the StreamCo-Net
                                            14
Case 8:24-cr-00068-KKM-TGW Document 63 Filed 07/09/24 Page 15 of 19 PageID 568




 computer for the purpose of commercial advantage and private gain, and he

 intentionally disclosed an audio/video stream to another person, who likewise

 placed value on the stream.

        Respectfully, however, the value in the marketplace of individual items of

 contraband or fruits of the criminal conduct found on and seized from Burke’s7

 computer system does not give full consideration to the harmful impact of the

 charged criminal conduct on the victims to date and, potentially, in the future. Here,

 Burke has even crowed in a previous court filing, Doc. 44 at 7 (struck by Doc. 46),

 that his disclosure of one of the illegally intercepted wire communication streams

 caused economic harm to others, in that the disclosure was a purported

 “contributing factor” to an individual losing a significant contract and a decision by

 a broadcaster to fire an on-air show host. In addition, Burke is charged in Count

 Fourteen with disclosing an excerpt from one of the illegally intercepted video

 streams—an NW-1 stream—with a false and misleading caption, thereby

 demonstrating maleficence towards some of the victims.

        Many of the illegally intercepted wire communications contain the personal

 and workplace communications and exchanges between the various victim

 broadcaster-customers’ employees and others interacting with them. These

 employees and others are also victims of the charged conduct, as are their companies

 which inarguably place value on their brands and are held to account for the quality


 7
  Like fruits of the charged criminal conduct were also found and seized by the United States from
 conspirator Gaudino’s computer during the investigation leading to the indictment.
                                                  15
Case 8:24-cr-00068-KKM-TGW Document 63 Filed 07/09/24 Page 16 of 19 PageID 569




 of their product. Burke should not be permitted to exploit his illegal surreptitious

 monitoring and interception of these victims. Burke simply has no property interest

 in the folders, files, or other electronic information stolen from the protected

 computers of third-party victims or in the illegally intercepted wire communications

 and he should not be permitted to possess and disclose the fruits of his crimes

 pending trial.

        D.     Burke’s potential defense theories and arguments are not relevant at
               this pretrial stage to consideration of the United States’ motion for
               protective order.

        During the hearing on the United States’ motion for protective order, Burke’s

 counsel, consistent with Burke’s second response in opposition to the motion for

 protective order, Doc. 51, repeated a smattering of red-herring defenses, including

 that Burke originally secured the StreamCo-Net website credential from “a source for

 Mr. Burke [who] directed him to an archived public website of WGNS Radio, where

 the radio station had published a link to its live feeds.” Id. at 6. That baseless argument

 suggests that Burke innocently followed a public website’s published link to enter the

 StreamCo-Net website. But that is not what is charged by the pending indictment

 because that is not what the existing evidence supports. Instead, the indictment

 alleges that conspirators Gaudino and Burke exchanged direct messages in August

 2022, during which Gaudino provided Burke with compromised credentials to enter

 the StreamCo-Net website, without having been authorized by either the credential

 holder or StreamCo to use those credentials or to enter that website. See Doc. 1,

 Count One, ¶ 23.d.
                                               16
Case 8:24-cr-00068-KKM-TGW Document 63 Filed 07/09/24 Page 17 of 19 PageID 570




       The United States anticipates that Burke may raise the above and any number

 of other potential defenses to the charged conduct in the defendant’s supplemental

 memorandum opposing the United States’ motion for a protective order.

 Respectfully, while Burke will have the opportunity to raise defenses to the charges

 pending against him, such (baseless) arguments are not relevant at this point to

 consideration of the pending motion for protective order. As noted above, the grand

 jury has found probable cause and returned the pending indictment charging Burke

 with conspiracy to violate the CFAA and the Wiretap Act and related substantive

 counts. That finding deserves deference at this pretrial stage, while the parties engage

 in discovery and trial preparation.

 V.    Conclusion

       Wherefore, based on the above and pursuant to Rule 16(d)(1) of the Federal

 Rules of Criminal Procedure and the Crime Victims’ Rights Act, the United States

 requests that this Court, upon a finding of good cause, grant the United States’

 motion for a protective order and enter the order previously submitted to the Court

 as Doc. 33-1. That proposed protective order will enable the defense to possess a

 forensically sound copy of Burke’s computer system, as it existed on May 8, 2023,

 and to have access to all other discoverable materials for investigation and trial

 preparation purposes while maintaining necessary safeguards over discoverable




                                            17
Case 8:24-cr-00068-KKM-TGW Document 63 Filed 07/09/24 Page 18 of 19 PageID 571




 material that contains personal identifying information, intellectual property of

 others, and/or the contraband fruits of the charged criminal conduct.



                                          Respectfully submitted,

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                                            18
Case 8:24-cr-00068-KKM-TGW Document 63 Filed 07/09/24 Page 19 of 19 PageID 572




  U.S. v. TIMOTHY BURKE                         CASE NO. 8:24-cr-00068-KKM-TGW

                            CERTIFICATE OF SERVICE

        I hereby certify that on July 9, 2024, I electronically filed the foregoing with

  the Clerk of the Court by using the CM/ECF system which will send a notice of

  electronic filing to counsel for the Defendant.



                                          /s/Jay G. Trezevant
                                          Jay G. Trezevant
                                          Assistant United States Attorney
